Case 2:18-cv-07560-AB-FFM Document 88 Filed 08/14/19 Page 1 of 34 Page ID #:1477


 1   Annie S. Wang (CA SBN 243027)
     annie@wangalc.com
 2   J. Andrew Coombs, Of Counsel (CA SBN 123881)
     andy@wangalc.com
 3   Wang Law Corporation
     1150 Foothill Boulevard, Suite E
 4   La Cañada Flintridge, California 91011
     Telephone: (818) 500-3200
 5   Facsimile: (818) 500-3201
 6   Attorneys for Plaintiffs
     Seiko Epson Corporation
 7   and Epson America, Inc.
 8                                            UNITED STATES DISTRICT COURT
 9                                         CENTRAL DISTRICT OF CALIFORNIA
10   Seiko Epson Corporation and Epson       )                             Case No. 2:18-cv-07560-AB (FFMx)
     America, Inc.,                          )
11                                           )                             PLAINTIFFS’ EX PARTE
                             Plaintiffs,     )
12          v.                               )                             APPLICATION FOR ORDER FOR
                                             )                             ALTERNATIVE EMAIL SERVICE,
13                                           )
     Oleksandr Benedychuk; Wisemine                                        AND FOR EXTENSION OF TIME
                                             )
14   Trading Ltd.; Vasyl Kedyk; Sitrol       )                             TO SERVE; MEMORANDUM OF
     Intertrading Ltd. A/K/A Kekrodi         )                             POINTS AND AUTHORITIES IN
15
     Intertrading Ltd.; Denis Smotrov; Denis )                             SUPPORT THEREOF;
                                             )
16   Smotrov LLC; Anton Hashynov;            )                             DECLARATIONS AND EXHIBITS
     Vladislav Bondarenko; Viktor Boiko;     )                             IN SUPPORT
17                                           )
     Laszlo Kedik; Andrey Klimenko; Iurii
                                             )
18   Ganychenko; Andriy Stebliv; Larysa      )
     Ponomarenko; Volodymyr Shevchun;        )
19                                           )
     Liliia Stakhova; Veleriya Kosolapova;
                                             )
20   Nina Kozlova; Denis Evseev; Tymur       )
     Isaiev; Ihor Kobylinskyi; Vladyslav     )
21                                           )
     Pankov; Andrii Pavlov; Roman
                                             )
22   Kholodov; Anton Kovalkov; Oleksandr )
     Bobyr; and Does 1-10, inclusive,        )
23                                           )
                                             )
24                           Defendants.     )
                                             )
25

26              Plaintiffs Seiko Epson Corporation and Epson America, Inc. (collectively
27   “Plaintiffs”) in the interests of an expeditious resolution of claims and the realities of
28   litigation against parties who conduct infringement relatively anonymously over the
                                                     i
     _________________________________________________________________________________________________
     Seiko Epson Corporation, et al. v. Benedychuk, et al.:
     Ex Parte App. For Order Re Service by Email and Enlargement of Time
Case 2:18-cv-07560-AB-FFM Document 88 Filed 08/14/19 Page 2 of 34 Page ID #:1478


 1   Internet, hereby apply, ex parte, to this Court for issuance of an Order pursuant to
 2   Federal Rules of Civil Procedure, Rules 4(f)(3), 4(e)(1) and California Code of Civil
 3   Procedure § 413.30, Nev. R. Civ. P. 4.4(b), and New York Consolidated Laws, Civil
 4   Practice Law and Rules (“CPLR”) § 308(5), as applicable, for the following:
 5              1) allowing email service of the Summons and First Amended Complaint in
 6                   this matter upon Defendants Oleksandr Benedychuk, Vasyl Kedyk, Denis
 7                   Smotrov, Denis Smotrov LLC, Anton Hashynov, Laszlo Kedik, Veleriya
 8                   Kosolapova, Ihor Kobylinskyi, and Iurii Ganychenko (collectively “Email
 9                   Defendants”) as well as a short enlargement of time to serve in order to do
10                   so; and
11              2) a six (6) month enlargement of time to serve Defendants Wisemine Trading
12                   Ltd., Sitrol Intertrading Ltd. A/K/A Kekrodi Intertrading Ltd., Viktor Boiko,
13                   Andrey Klimenko, Nina Kozlova, Andriy Stebliv, Volodymyr Shevchun,
14                   Liliia Stakhova, Larysa Ponomarenko, Denis Evseev, Oleksandr Bobyr,
15                   Roman Kholodov, Andrii Pavlov, Vladyslav Pankov, Anton Kovalkov, and
16                   Tymur Isaiev (collectively “Alleged International Defendants”).
17              Despite significant investigative and service efforts outlined in the attached
18   Declarations and Exhibits, Defendant Vladislav Bondarenko is the only Defendant
19   Plaintiffs have successfully served via traditional means, albeit by substituted service,
20   and even though multiple of the Defendants identified that same address as their
21   address. Dkt 86; Declaration of Annie S. Wang (“Wang Decl.”) at ¶ 6, Ex. A. Email
22   service to email addresses associated with each of the Email Defendants as identified
23   by reliable third-party service providers such as their banks and financial accounts, or
24   UPS Store locations used in connection with the infringement, as well as available
25   public information, is needed because the Defendants are either (i) evading service or
26   their current locations are unknown, and (ii) their heavy reliance on online service
27   providers to perpetuate their infringing business demonstrates that email is the best
28
                                                     ii
     _________________________________________________________________________________________________
     Seiko Epson Corporation, et al. v. Benedychuk, et al.:
     Ex Parte App. For Order Re Service by Email and Enlargement of Time
Case 2:18-cv-07560-AB-FFM Document 88 Filed 08/14/19 Page 3 of 34 Page ID #:1479


 1   way to provide them notice of Plaintiffs’ claims, to avoid any further wild goose
 2   chases as to these defendants, and to move the case forward.
 3              Plaintiffs have also been unable to definitively locate the principals for
 4   Wisemine Trading Ltd. and Sitrol Intertrading Ltd. A/K/A Kekrodi Intertrading Ltd.
 5   though they have obtained potential addresses for service for these entities in Cyprus
 6   (“Cyprus Defendants”), and have been unable to find Defendants Andrey Klimenko,
 7   Viktor Boiko, Nina Kozlova, Andriy Stebliv, Volodymyr Shevchun, Liliia Stakhova,
 8   Larysa Ponomarenko, Denis Evseev, Oleksandr Bobyr, Roman Kholodov, Andrii
 9   Pavlov, Vladyslav Pankov, Anton Kovalkov, and Tymur Isaiev in the United States,
10   though Plaintiffs have obtained potential addresses in the Ukraine which may be valid
11   for service. Plaintiffs are actively trying to verify the currently known international
12   addresses. Wang Decl. at ¶ 15. Based upon current estimates received from
13   international process servers, after the addresses are verified, if any, additional time
14   will be needed to attempt service on the Alleged International Defendants before
15   Plaintiffs’ current deadline of August 15th pursuant to Fed. R. Civ. P. 4(m), and
16   therefore Plaintiffs also request the Court for an additional six (6) months within
17   which to effect service of process on the Alleged International Defendants for which a
18   relatively current and potentially valid international address is known.
19              This application is made in the interests of justice and pursuant to the Court’s
20   inherent equitable power to authorize alternate means of service as provided by
21   Federal Rules of Civil Procedure, Rules 4(f)(3), 4(e)(1) and California Code of Civil
22   Procedure § 413.30, Nev. R. Civ. P. 4.4(b), and New York Consolidated Laws, Civil
23   Practice Law and Rules (“CPLR”) § 308(5), as applicable. This application is based
24   upon the Memorandum of Points and Authorities, the Declarations filed in support,
25   including Exhibits attached thereto, the First Amended Complaint and any other
26   papers and records on file in this action and upon such additional evidence and
27   arguments as may be present at, or before the hearing, on Plaintiffs’ Application.
28              As reflected in the accompanying proof of service filed concurrently, Plaintiffs
                                                     iii
     _________________________________________________________________________________________________
     Seiko Epson Corporation, et al. v. Benedychuk, et al.:
     Ex Parte App. For Order Re Service by Email and Enlargement of Time
Case 2:18-cv-07560-AB-FFM Document 88 Filed 08/14/19 Page 4 of 34 Page ID #:1480


 1   have, in an abundance of caution, served copies of the present Application on the
 2   email addresses associated with the Amazon.com Seller Accounts that were used in
 3   the underlying infringement as well as on Defendant Bondarenko by First Class Mail
 4   and email and have notified them that any opposition papers must be filed no later
 5   than 24 hours (or one court day) following such service. Pursuant to Local Rule 7-19,
 6   there have been no responses or contacts from any of the Seller Account email
 7   addresses, any of the Defendants, or anyone representing the Defendants.
 8              Plaintiffs have been unable to locate the Defendants at issue for traditional
 9   service in the United States and, while these Defendants may already have notice of
10   the lawsuit in part due to the shutdown of their Amazon.com accounts and the
11   freezing and transfer of their funds or from the service of the pleadings to email
12   addresses associated with those Seller Accounts, the requested relief is necessary to
13   remove concerns that these Defendants were not provided adequate notice of the
14   pending lawsuit.
15
     Dated: August 14, 2019                                        Wang Law Corporation
16

17                                                                 By: _/s/ Annie S. Wang__________________
                                                                         Annie S. Wang
18                                                                       J. Andrew Coombs, Of Counsel
                                                                   Attorneys for Plaintiffs Seiko Epson
19                                                                 Corporation and Epson America, Inc.
20

21

22

23

24

25

26

27

28
                                                     iv
     _________________________________________________________________________________________________
     Seiko Epson Corporation, et al. v. Benedychuk, et al.:
     Ex Parte App. For Order Re Service by Email and Enlargement of Time
Case 2:18-cv-07560-AB-FFM Document 88 Filed 08/14/19 Page 5 of 34 Page ID #:1481


 1                                                      TABLE OF CONTENTS
 2

 3   INTRODUCTION                                                                                 1
 4   STATEMENT OF FACTS                                                                           4
 5              A.         Defendants Are Engaged in Infringing Activities Within This District 4
 6              B.         Defendants Rely Exclusively on Electronic Communications               5
 7   ARGUMENT                                                                                     6
 8              A.         The Court May Authorize Service via Electronic Mail Pursuant to
 9                         Federal Rule of Civil Procedure 4                                      6
10              B.         Plaintiffs Demonstrate Cause Permitting an Enlargement of Time
11                         Within Which to Effect Service of Process                             11
12   CONCLUSION                                                                                  14
13   Declaration of Annie S. Wang                                                                16
14   Declaration of Herb Seitz                                                                   24
15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                     v
     _________________________________________________________________________________________________
     Seiko Epson Corporation, et al. v. Benedychuk, et al.:
     Ex Parte App. For Order Re Service by Email and Enlargement of Time
Case 2:18-cv-07560-AB-FFM Document 88 Filed 08/14/19 Page 6 of 34 Page ID #:1482


 1                                                   TABLE OF AUTHORITIES
 2   Cases
 3   Chanel, Inc. v. Curry,
     2015 U.S. Dist. LEXIS 179689 at **14-15 (S.D. Fla. April 16, 2015) ......................... 9
 4
     Chloe Sas v. Sawabeh Info. Servs. Co.,
 5   2011 U.S. Dist. LEXIS 161041 at **23-26 (C.D. Cal. May 17, 2011).......................... 9
 6   Efaw v. Williams, 473 F.3d 1038, 1041 (9th Cir. 2007) ........................................ 12, 14
 7   Facebook, Inc. v. Banana Ads, LLC,
     2012 U.S. Dist. LEXIS 42160, **4-10 (N.D. Cal. March 27, 2012) ............................. 9
 8
     Henderson v. United States, 517 U.S. 654, 661 (1996)................................................ 12
 9
     Mann v. Am. Airlines, 324 F.3d 1088, 1090 (9th Cir. 2003) ....................................... 12
10
     Mid-Continent Wood Products, Inc. v. Harris, 936 F.2d 297, 303 (7th Cir. 1990) ...... 14
11
     Motley v. Parks, 2001 U.S. Dist. LEXIS 12479, at *17 (C.D. Cal. July 23, 2001) ..... 14
12
     MPS IP Services, Corp. v. Modis Communications, Inc.,
13   2006 U.S. Dist. LEXIS 34473, **1-4 (M.D. Fla. May 30, 2006) .................................. 9
14   Mullane v. Cent. Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950) ................ 6, 10
15   Nikwei v. Ross School of Aviation, Inc., 822 F.2d 939, 942 (10th Cir. 1987) ............. 14
16   Noco Co. v. Shenzhen Anband Tech.,
     2018 U.S. Dist. LEXIS 44545, **6-7 (N.D. Ohio Mar. 18, 2018)................................. 8
17
     Philip Morris USA Inc. v. Veles Ltd.,
18   2007 U.S. Dist. LEXIS 19780 , ** 5-7 (S.D.N.Y. March 13, 2007).............................. 9
19   Popular Enterprises LLC v. Webcom Media Group, Inc.,
     225 F.R.D. 560, 563 (E.D. Tenn. 2004) ......................................................................... 8
20
     Rio Props. v. Rio Int’l Interlink, 284 F.3d 1007, 1017 (9th Cir. 2002) ................. 6, 8-11
21
     Talavera Hair Prods. v. Taizhou Yunsung Elec. Appliance Co.,
22   2018 U.S. Dist. LEXIS 87968, * *1-2 (S.D. Cal. May 24, 2018) .................................. 9
23   Williams v. Advertising Sex LLC, 231 F.R.D. 483 (N.D. West Va. 2005) ................... 9
24   Williams-Sonoma Inc. v. Friendfinder, Inc.,
     2007 U.S. Dist. LEXIS 31299, **5-6 (N.D. Cal. April 17, 2007) ........................... 8, 11
25

26
     Rules
27
     Fed. R. Civ. P. 4(e)(1) ....................................................................................... ii, iii, 2, 8
28
                                                     vi
     _________________________________________________________________________________________________
     Seiko Epson Corporation, et al. v. Benedychuk, et al.:
     Ex Parte App. For Order Re Service by Email and Enlargement of Time
Case 2:18-cv-07560-AB-FFM Document 88 Filed 08/14/19 Page 7 of 34 Page ID #:1483


 1   Fed. R. Civ. P. 4(f) ................................................................................................ 2, 8-11
 2   Fed. R. Civ. P. 4(m) .................................................................................................iii, 12
 3   Fed. R. Civ. P. 6(b) ..................................................................................................11-12
 4   Nev. R. Civ. P. 4.4(b) ....................................................................................... ii, iii, 2, 8
 5   New York Consolidated Laws, Civil Practice Law and Rules
 6   (“CPLR”) § 308(5)............................................................................................ ii, iii, 2, 8
 7

 8   Statutes
 9   Cal. Civ. P. Code §413.30 ................................................................................ ii, iii, 2, 8
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                    vii
     _________________________________________________________________________________________________
     Seiko Epson Corporation, et al. v. Benedychuk, et al.:
     Ex Parte App. For Order Re Service by Email and Enlargement of Time
Case 2:18-cv-07560-AB-FFM Document 88 Filed 08/14/19 Page 8 of 34 Page ID #:1484



 1
                              MEMORANDUM OF POINTS AND AUTHORITIES
 2

 3                                                       I.     INTRODUCTION
 4               Plaintiffs bring this action to combat the widespread infringement of their
 5    trademark rights by a network of individuals and entities who conduct extensive
 6    online sales, including sales on the Website, using a variety of fanciful seller
 7    accounts most of which sold purported “Epson” products exclusively using
 8    Fulfillment by Amazon (“FBA”) services, some of which are identified in Exhibit B
 9    to the First Amended Complaint (“Seller Accounts”). Dkt. 53 at Ex. B. Their use of
10    Amazon.com, Inc.’s FBA services, shields their personal information. Only through
11    extensive third-party discovery ordered by this Court, Dkts. 12, 48, were Plaintiffs
12    able to identify numerous key players in the infringement and filed their First
13    Amended Complaint to bring those responsible for the infringement to light.
14               All of the email addresses reported by Amazon as connected to the Seller
15    Accounts through which the infringement was carried out were served with all of the
16    pleadings in this case, including the First Amended Complaint and Summonses.
17    Dkts. 53, 87. Plaintiffs have at the very least put Defendants on notice of these
18    proceedings pursuant to the Court’s prior orders permitting service by email. Dkts.
19    12, 48. Plaintiffs bring this application in an abundance of caution with the aim to
20    provide clear notice of these proceedings to all of the newly identified Defendants
21    and of the default which will follow from their continued failure to respond.
22               Plaintiffs allege that the Defendants, and each of them, had the right and
23    ability to supervise or control the infringing activity alleged herein and that they each
24    had a direct financial interest in such activity. The Defendants and their Seller
25    Accounts are subject to the jurisdiction of this Court through their promotion,
26    distribution, advertisement and/or sale of the Counterfeit Products which infringe the
27    Trademarks within this judicial district.
28

     Seiko Epson Corporation, et al. v. Benedychuk, et al.:
     Ex Parte App. For Order Re Service by Email and Enlargement of   -1-
     Time
Case 2:18-cv-07560-AB-FFM Document 88 Filed 08/14/19 Page 9 of 34 Page ID #:1485




 1               Even before filing the First Amended Complaint, Plaintiffs employed
 2    significant efforts to identify and locate these Defendants. Unfortunately, the Email
 3    Defendants have provided little information other than their email addresses and
 4    have provided invalid residential addresses, or appear to be evading service, such
 5    that efforts to personally serve Defendants have been unsuccessful. Wang Decl. at
 6    ¶¶ 2-16; Declaration of Herb Seitz (“Seitz Decl.”) at ¶¶ 2-3; Declaration of Herb
 7    Seitz in Support of Ex Parte Application for (1) TRO; (2) OSC re Issuance of PI; (3)
 8    Order Restraining Transfer of Assets; (4) Order for Disclosure of Information; and
 9    (5) Order for Alt. Service, Dkt. No. 5 (“Seitz TRO Decl.”) at ¶¶ 1-18; Status Report
10    and Response to OSC, Dkt. No. 51 (“Status Report”) at pp. 1:26-4:6. Plaintiffs have
11    been actively researching the Alleged International Defendants: while they all
12    provided email addresses to their third-party service providers, they provided no
13    valid residential addresses or other information which would enable service in the
14    United States. Plaintiffs continue to verify the foreign addresses provided to see if
15    they are valid for service attempts to be made abroad which Plaintiffs are informed
16    could take an additional 4-6 months. Wang Decl. at ¶ 15.
17               Accordingly, Plaintiffs request an order allowing service of process on all of
18    the Email Defendants via email pursuant to Fed. R. Civ. P. 4(f)(3), and, in the
19    alternative, pursuant to Fed. R. Civ. P. 4(e)(1), and Cal. Civ. P. Code 413.30, for
20    Defendants Hashynov, Kedik, Kosolopova, Kobylinksyi, and Ganychenko who
21    claim to reside in California, Nev. R. Civ. P. 4.4(b) for Defendants Smotrov and
22    Denis Smotrov LLC (which does not appear to be a registered Nevada LLC) who
23    claim to reside in Nevada, and CPLR § 308(5) for Defendant Kobylinksyi who
24    claimed to reside in California previously, but may currently reside in New York.
25    Email service is necessary in this case, because the Email Defendants (1) are either
26    evading service or their locations are not known, and (2) they rely heavily on
27    electronic communications to operate their businesses relatively anonymously via the
28
      Seiko Epson Corporation, et al. v. Benedychuk, et al.:
      Ex Parte App. For Order Re Service by Email and Enlargement of
                                                                       -2-
      Time
Case 2:18-cv-07560-AB-FFM Document 88 Filed 08/14/19 Page 10 of 34 Page ID #:1486




  1   Internet in order to conceal their locations and avoid liability for their unlawful
  2   conduct. Notwithstanding the Email Defendants’ concealment of their physical
  3   locations or evasion of service, Plaintiffs still have the ability to contact the Email
  4   Defendants directly and provide notice of Plaintiffs’ claims against them.
  5   Specifically, Plaintiffs have identified the following email addresses for the Email
  6   Defendants as summarized below:
  7             Defendant                                      Email Address            Source
  8   Oleksandr                                  o.benedychuk@yahoo.com        Email address(es)
  9   Benedychuk                                                               provided to entity
 10   Vasyl Kedyk                                sitrol.company@gmail.com      specializing in
 11                                                                            facilitating the transfer
 12                                                                            of money received
 13                                                                            from Amazon seller
 14                                                                            accounts to overseas
 15                                                                            recipients, and
 16                                                                            associated accounts in
 17                                                                            fact received money
 18                                                                            from Seller Accounts
 19                                                                            (“US Forex”). Wang
 20                                                                            Decl. at ¶¶ 12-13.
 21   Denis Smotrov                              coast0220@gmail.com           Email address(es)
 22   Denis Smotrov LLC                          coast0220@gmail.com           provided to UPS
 23   Anton Hashynov                             antongari1212@gmail.com       Store(s) designated by
                                                 antongaril1212@gmail.com
 24                                                                            Seller Accounts to
      Laszlo Kedik                               coast0220@gmail.com
 25
                                                 laszlokedik@gmail.com         receive the return of
 26   Veleriya Kosolapova                        depa00777@gmail.com           product from Amazon.
 27
      Ihor Kobylinskyi                           fox80801@gmail.com            Id. at ¶ 4.
 28
      Seiko Epson Corporation, et al. v. Benedychuk, et al.:
      Ex Parte App. For Order Re Service by Email and Enlargement of
                                                                       -3-
      Time
Case 2:18-cv-07560-AB-FFM Document 88 Filed 08/14/19 Page 11 of 34 Page ID #:1487




      Iurii                                      iurii_ganychenko@ukr.net           Email address obtained
  1
      Ganychenko
  2                                                                                 from publicly available
  3                                                                                 resources. Id. at ¶ 11.
  4              Plaintiffs respectfully submit that the most efficient and reliable means by
  5   which all of the Defendants may be apprised of the pendency of this action is by
  6   email service, but as to those Email Defendants whose current whereabouts are
  7   unknown and for which Plaintiffs have no other valid addresses, an order allowing
  8   service of process via email will benefit all parties and the Court by ensuring the
  9   Email Defendants receive immediate notice of the pendency of this action sufficient
 10   to support entry of default judgment, and to allow this action to move forward.
 11              Despite Plaintiffs’ efforts to find all Defendants in the United States given
 12   their critical reliance and use of service providers based in the United States and the
 13   frequent use of each other’s information, those efforts have not been successful.
 14   Plaintiffs are actively vetting potentially valid international addresses through
 15   resources abroad which requires additional time. Wang Decl. at ¶ 15. Without the
 16   requested relief, Plaintiffs will almost certainly be left without the ability to pursue a
 17   remedy, and Defendants will be able to continue, without consequence, with their
 18   infringing activities as Plaintiffs believe they continue to do presently.
 19                                               II.          STATEMENT OF FACTS
 20              A.         Defendants Are Engaged in Infringing Activities Within This
 21                         District.
 22              Plaintiffs allege that all Defendants operated, managed, and/or maintained an
 23   international counterfeiting scheme, using in part, the Website and a prolific roster of
 24   Seller Accounts to infringe Plaintiffs’ rights by the unlawful offer, distribution, and
 25   sale of ink cartridges and ink bottles using identical, unauthorized copies of
 26   Plaintiffs’ trademarks on counterfeit retail box packaging with falsified “Best
 27   Before” dates (“Counterfeit Products”). Multiple samples of the Counterfeit
 28
      Seiko Epson Corporation, et al. v. Benedychuk, et al.:
      Ex Parte App. For Order Re Service by Email and Enlargement of
                                                                       -4-
      Time
Case 2:18-cv-07560-AB-FFM Document 88 Filed 08/14/19 Page 12 of 34 Page ID #:1488




  1   Products were purchased and shipped in the District where Plaintiff Epson America,
  2   Inc. is domiciled, information that is reflected on the packaging for the Counterfeit
  3   Products. Seitz TRO Decl. at ¶¶ 1-18. The Counterfeit Products are described as
  4   new or genuine when they are in fact infringements and are also frequently
  5   significantly altered, expired or near expired, and used. Id. As part of their
  6   operation, a network of UPS Store boxes were maintained by the Seller Accounts
  7   and several Defendants, mostly concentrated in Southern California where this Court
  8   is located. Seitz Decl. at ¶ 2. The Defendants also use a variety of Amazon services
  9   to avoid detection while benefitting from Amazon’s high market visibility and
 10   business services. First Amended Complaint (“Compl.”) at ¶¶ 3, 11-47. While
 11   Defendants’ current locations are by design, not known or difficult to verify,
 12   Defendants’ actions are unquestionably directed at Plaintiff Epson America, Inc. and
 13   Internet users within the Central District of California.
 14              B.         Defendants Rely Exclusively on Electronic Communications.
 15              Defendants have structured their activities so that the only effective means of
 16   communication is through the Internet. This means the Defendants can be physically
 17   located either in the United States or abroad at any time. Defendants provided
 18   Amazon.com with fanciful seller names, invalid seller addresses and addresses for
 19   private mailboxes rented by numerous of the Defendants at over a dozen UPS Stores
 20   throughout the United States the majority of which were located in Southern
 21   California. Wang Decl. at ¶ 4; Seitz Decl. at ¶ 2. The addresses and/or
 22   documentation with addresses provided by Defendants to the various UPS Stores
 23   were either falsified or invalid for purposes of service. Wang Decl. at ¶¶ 4-10.
 24   Some of the Defendants also linked their Seller Accounts to banks which had only
 25   foreign contact information for them. Id. at ¶¶ 12-15. However, Defendants
 26   provided email addresses through which the third-party service providers
 27   communicated with them. Id. at ¶¶ 4, 12-14. Specifically, Defendants have received
 28
      Seiko Epson Corporation, et al. v. Benedychuk, et al.:
      Ex Parte App. For Order Re Service by Email and Enlargement of
                                                                       -5-
      Time
Case 2:18-cv-07560-AB-FFM Document 88 Filed 08/14/19 Page 13 of 34 Page ID #:1489




  1   payments and notices regarding sales from Amazon, notices of payment deposits or
  2   transfers from US Forex and First Century Bank, or notices of receipt of packages
  3   from the various UPS Stores through the provided email addresses and would thus
  4   have an incentive to make sure these email addresses are correct and up-to-date in
  5   order to ensure payment and receipt of notifications. Id. at ¶ 4, 12-14. Defendant
  6   Ganychenko could not be found at the addresses he used and despite service of a
  7   subpoena, his email address was not provided by his bank, however, his email
  8   address was acquired from reliable public sources that provide additional indicia of
  9   accuracy. Id. at ¶ 11. Accordingly, the fastest means to contact all of the Defendants
 10   and only reliable means to contact the Email Defendants is through email
 11   communication.
 12                                                            III.    ARGUMENT
 13              A.         The Court May Authorize Service via Electronic Mail Pursuant to
 14              Federal Rule of Civil Procedure 4.
 15              Controlling authority instructs that “the Constitution does not require any
 16   particular means of service of process, only that the method selected be reasonably
 17   calculated to provide notice and an opportunity to respond.” Rio Props. v. Rio Int’l
 18   Interlink, 284 F.3d 1007, 1017 (9th Cir. 2002) (authorizing service via email) citing
 19   Mullane v. Cent. Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950). In its
 20   reasoning, the Ninth Circuit stated that “[i]n proper circumstances, this broad
 21   constitutional principle unshackles the federal courts from anachronistic methods of
 22   service and permits them entry into the technological renaissance.” Id. Even in
 23   2002, the Ninth Circuit endorsed service by email citing with approval that a
 24   defendant “can receive complete notice at an electronic terminal inside his very
 25   office, even when the door is steel and bolted shut.” Id. (citations omitted). As
 26   Plaintiffs have shown that the Defendants have either purposefully concealed the
 27   location of their physical “office” through the provision of inaccurate information for
 28
      Seiko Epson Corporation, et al. v. Benedychuk, et al.:
      Ex Parte App. For Order Re Service by Email and Enlargement of
                                                                        -6-
      Time
Case 2:18-cv-07560-AB-FFM Document 88 Filed 08/14/19 Page 14 of 34 Page ID #:1490




  1   proposes of traditional service, or are evading service, Plaintiffs request an order
  2   allowing service of process on the above identified Defendants via email.
  3              Plaintiffs have diligently investigated the Email Defendants seeking to locate a
  4   valid physical address for service for each, without success. Plaintiffs previously
  5   filed an ex parte application, which was granted by the Court, which included an
  6   order for disclosure of information from Amazon and permitted Plaintiffs to conduct
  7   discovery on Defendants’ third-party service providers. Dkt. Nos. 12, 48. Plaintiffs
  8   in fact undertook extensive efforts to identify and locate the Defendants. Wang
  9   Decl. at ¶¶ 4-16. Plaintiffs have also searched online and publicly available records
 10   for information regarding the Email Defendants’ whereabouts but have been unable
 11   to determine valid addresses for service of process. Id. at ¶¶ 4-16. Plaintiffs
 12   uncovered physical, personal addresses for Defendants Denis Smotrov, Denis
 13   Smotrov LLC, Anton Hashynov, Laszlo Kedik, Andrey Klimenko, Iurii
 14   Ganychenko, Veleriya Kosolapova, Viktor Boiko and Ihor Kobylinskyi in the United
 15   States 1; however, most were invalid and/or upon attempts at personal service the
 16   defendant appeared to be evading service. Id. at ¶¶ 4-11. As a result of the Email
 17   Defendants’ own efforts to conceal their locations, Plaintiffs are unable to determine
 18   their physical whereabouts for service. 2
 19              For those Defendants that have represented themselves to be located in the
 20   United States, Defendants may be served in accordance with state law providing for
 21   alternative service. Fed. R. Civ. P. 4(e)(1). California state law provides that
 22
      1
 23     Defendants Boiko and Klimenko are included in the request for additional time in
      an abundance of caution as Plaintiffs were able to obtain a potentially valid address
 24   for each of them in the Ukraine which are currently being researched.
      2
        Plaintiffs also uncovered potentially valid residential addresses in the Ukraine for
 25   Defendants Andrey Klimenko, Viktor Boiko, Nina Kozlova, Andriy Stebliv,
      Volodymyr Shevchun, Larysa Ponomarenko, Liliia Stakhova, Denis Evseev,
 26   Oleksandr Bobyr, Roman Kholodov, Andrii Pavlov, Vladyslav Pankov, Tymur
      Isaiev and Anton Kovalkov, from Defendants’ third-party service providers, but in
 27   an abundance of caution, Plaintiffs have turned to internationally based resources to
      research these addresses further. Wang Decl. at ¶ 15; Seitz Decl. at ¶ 3.
 28
      Seiko Epson Corporation, et al. v. Benedychuk, et al.:
      Ex Parte App. For Order Re Service by Email and Enlargement of
                                                                       -7-
      Time
Case 2:18-cv-07560-AB-FFM Document 88 Filed 08/14/19 Page 15 of 34 Page ID #:1491




  1   “[w]here no provision is made in this chapter or other law for the service of
  2   summons, the court in which the action is pending may direct that summons be
  3   served in a manner which is reasonably calculated to give actual notice to the party
  4   to be served and that proof of such service be made as prescribed by the court.” Cal.
  5   Civ. P. Code 413.30. Nevada state law provides for Court-Ordered Service when
  6   traditional means are impracticable. Nev. R. Civ. P. 4.4(b). New York state law
  7   provides that service shall be made “in such manner as the court, upon motion
  8   without notice, directs,” if service is otherwise impracticable. CPLR § 308(5). As
  9   set forth above, the traditional means of service are impracticable because either
 10   there is no valid address for service of process or the defendant appears to be evading
 11   service, and the Defendants are engaged in internet-based commercial activities and
 12   rely entirely on communications through email to conduct their business. Wang
 13   Decl. at ¶¶ 4-11. Service via email is, therefore, the best method for providing actual
 14   notice to the Email Defendants regarding their Internet-based infringement.
 15               Even if the Email Defendants are located abroad, a number of Courts have
 16   held that alternate forms of service pursuant to Rule 4(f), including email service, are
 17   appropriate and may be the only means of effecting service of process “when faced
 18   with an international e-business scofflaw.” Popular Enterprises LLC v. Webcom
 19   Media Group, Inc., 225 F.R.D. 560, 563 (E.D. Tenn. 2004) (allowing email service)
 20   citing Rio Props., 284 F.3d at 1018; see also Noco Co. v. Shenzhen Anband Tech.,
 21   2018 U.S. Dist. LEXIS 44545, **6-7 (N.D. Ohio Mar. 18, 2018) (authorizing email
 22   service and via Amazon’s Message Center); Williams-Sonoma, Inc. v. Friendfinder,
 23   Inc., 2007 U.S. Dist. LEXIS 31299, **4-7 (N.D. Cal. April 17, 2007) (allowing
 24   email service); Philip Morris USA Inc. v. Veles Ltd., 2007 U.S. Dist. LEXIS 19780 ,
 25   ** 5-7 (S.D.N.Y. March 13, 2007) (confirming email service); Williams v.
 26   Advertising Sex LLC, 231 F.R.D. 483, 488 (N.D. West Va. 2005) (allowing email
 27   service); MPS IP Services, Corp. v. Modis Communications, Inc., 2006 U.S. Dist.
 28
      Seiko Epson Corporation, et al. v. Benedychuk, et al.:
      Ex Parte App. For Order Re Service by Email and Enlargement of
                                                                       -8-
      Time
Case 2:18-cv-07560-AB-FFM Document 88 Filed 08/14/19 Page 16 of 34 Page ID #:1492




  1   LEXIS 34473, **1-4 (M.D. Fla. May 30, 2006) (allowing the plaintiffs to effect
  2   service on Canadian citizen via email, facsimile and regular mail); Chloe Sas v.
  3   Sawabeh Info. Servs. Co., 2011 U.S. Dist. LEXIS 161041 at **23-26 (C.D. Cal. May
  4   17, 2011) (service by email); Facebook, Inc. v. Banana Ads, LLC, 2012 U.S. Dist.
  5   LEXIS 42160, **4-10 (N.D. Cal. March 27, 2012) (same); Chanel, Inc. v. Curry,
  6   2015 U.S. Dist. LEXIS 179689 at **14-15 (S.D. Fla. April 16, 2015) (service by
  7   email/online contact form and website); Talavera Hair Prods. v. Taizhou Yunsung
  8   Elec. Appliance Co., 2018 U.S. Dist. LEXIS 87968, * *1-2 (S.D. Cal. May 24, 2018)
  9   (by email and website publication). Plaintiffs submit that allowing email service in
 10   the present case is appropriate and comports with constitutional notions of due
 11   process, particularly given Defendants’ decision to conduct their illegal Internet-
 12   based activities relatively anonymously.
 13              Plaintiffs have made good faith efforts to serve the Email Defendants with
 14   potentially valid addresses even though a party is not required to first attempt
 15   methods of service outlined in Rule 4 before petitioning the court for relief to serve
 16   via alternative means under Rule 4(f)(3) for example. Wang Decl. at ¶¶ 4-11; Rio
 17   Props., 284 F.3d at 1015-16. The fact that only one Defendant has been successfully
 18   served (albeit by substituted service), highlights the need for the requested relief. As
 19   the Ninth Circuit explained in Rio Props. with international defendants in mind in
 20   particular:
 21
                 By all indications, court-directed service under Rule 4(f)(3) is as
 22              favored as service available under Rule 4(f)(1) or Rule 4(f)(2).
                 Indeed, Rule 4(f)(3) is one of three separately numbered subsections
 23              in Rule 4(f), and each subsection is separated from the one previous
                 merely by the simple conjunction “or.” Rule 4(f)(3) is not subsumed
 24              within or in any way dominated by Rule 4(f)'s other subsections; it
                 stands independently, on equal footing. Moreover, no language in
 25              Rules 4(f)(1) or 4(f)(2) indicates their primacy, and certainly Rule
                 4(f)(3) includes no qualifiers or limitations which indicate its
 26              availability only after attempting service of process by other means.
 27              … Thus, examining the language and structure of Rule 4(f) and the
                 accompanying advisory committee notes, we are left with the
 28
      Seiko Epson Corporation, et al. v. Benedychuk, et al.:
      Ex Parte App. For Order Re Service by Email and Enlargement of
                                                                       -9-
      Time
Case 2:18-cv-07560-AB-FFM Document 88 Filed 08/14/19 Page 17 of 34 Page ID #:1493



                 inevitable conclusion that service of process under Rule 4(f)(3) is
  1              neither a “last resort” nor “extraordinary relief.” It is merely one
                 means among several which enables service of process on an
  2              international defendant.
  3              Rio Props., 284 F.3d at 1015.
  4              Additionally, the method of service of process “must also comport with
  5   constitutional notions of due process.” Id. at 1016. “To meet this requirement, the
  6   method of service crafted by the district court must be ‘reasonably calculated, under
  7   all the circumstances, to apprise interested parties of the pendency of the action and
  8   afford them an opportunity to present their objections.’” Id. citing Mullane, 339 U.S.
  9   at 314. The Ninth Circuit in Rio Props. held, “without hesitation,” that email service
 10   of an online business defendant “was constitutionally acceptable.” Rio Props., 284
 11   F.3d at 1017. The Court concluded “not only that service of process by e-mail was
 12   proper – that is, reasonably calculated to apprise [the defendant] of the pendency of
 13   the action and afford it an opportunity to respond – but in this case, it was the
 14   method of service most likely to reach [the defendant].” Id. The Court reached this
 15   conclusion, in part, because the defendant, like the Defendants herein, conducted its
 16   business over the Internet, used email regularly in its business, and encouraged
 17   parties to contact it electronically.
 18               Moreover, it is unlikely international agreements are implicated given that the
 19   Email Defendants identified themselves as residing in the United States and/or their
 20   current locations are unknown, however, Courts have routinely found that email
 21   service or its equivalent are not prohibited by international agreements such as the
 22   Hague Convention when the defendants’ current physical addresses are not known. 3
 23   Wang Decl. at ¶¶ 4-14. The Ninth Circuit has stated that "as long as court-directed
 24
      3
 25     Art. 1, 20 U.S.T. 361 (by its own terms “This Convention shall not apply where the
      address of the person to be served with the document is not known.” Id.). The Ninth
 26   Circuit has also stated that “as long as court-directed and not prohibited by an
      international agreement, service of process ordered under Rule 4(f)(3) may be
 27   accomplished in contravention of the laws of the foreign country.” Rio Props., 284
      F.3d at 1014.
 28
      Seiko Epson Corporation, et al. v. Benedychuk, et al.:
      Ex Parte App. For Order Re Service by Email and Enlargement of
                                                                       - 10 -
      Time
Case 2:18-cv-07560-AB-FFM Document 88 Filed 08/14/19 Page 18 of 34 Page ID #:1494




  1   and not prohibited by an international agreement, service of process ordered under
  2   Rule 4(f) may be accomplished in contravention of the laws of the foreign country."
  3   Rio Properties, 284 F.3d at 1014. 4 Hence, Plaintiffs submit that allowing service of
  4   process via email upon the Email Defendants is not prohibited by International Law.
  5   Plaintiffs respectfully submit that this factor should not bar the relief requested.
  6              As the Email Defendants’ current locations are not known whether in the
  7   United States, Ukraine, or elsewhere, email service is not prohibited by international
  8   agreement and should thus be ordered by the Court as the means most likely to
  9   provide actual notice of this Action to Defendants. Alternatively, state law provides
 10   additional support for this same relief for those Email Defendants that claimed to
 11   reside in the United States.
 12              B.         Plaintiffs Demonstrate Cause Permitting an Enlargement of Time
 13   Within Which to Effect Service of Process.
 14              Plaintiffs respectfully request that, pursuant to Rule 6(b), the Court grant a six
 15   (6) months enlargement of time within which to effect service of process to allow for
 16   the ongoing research and service attempts on the Alleged International Defendants,
 17   and to allow Plaintiffs to serve the Email Defendants by email after the current
 18   deadline should the Court grant this application. Plaintiffs anticipate effecting email
 19   service within days of the Court’s order.
 20                         “When an act may or must be done within a specified time, the
 21                         court may, for good cause, extend the time: (A) with or without
 22                         motion or notice if the court acts, or if a request is made, before
 23                         the original time or its extension expires…”
 24              Fed. R. Civ. P. 6(b)(1)(A).
 25

      4
 26    Even if the Email Defendants were located in the Ukraine, for example, Courts
      have found that email service on defendants located in the Ukraine is not prohibited
 27   by an international agreement. Williams-Sonoma Inc. v. Friendfinder, Inc., 2007
      U.S. Dist. LEXIS 31299, **5-6 (N.D. Cal. April 17, 2007).
 28
      Seiko Epson Corporation, et al. v. Benedychuk, et al.:
      Ex Parte App. For Order Re Service by Email and Enlargement of
                                                                       - 11 -
      Time
Case 2:18-cv-07560-AB-FFM Document 88 Filed 08/14/19 Page 19 of 34 Page ID #:1495




  1   Plaintiffs filed their First Amended Complaint on May 17, 2019. Accordingly,
  2   Plaintiffs are to effect service on all Defendants by August 15, 2019, per Fed. R. Civ.
  3   P. 4(m). Accordingly, Plaintiffs submit their request for an enlargement of time
  4   “before the expiration of the period originally prescribed” by Rule 4(m). Fed. R.
  5   Civ. P. 6(b).
  6              Moreover, “[d]istrict courts have broad discretion to extend time for service
  7   under Rule 4(m). . . .[as] Rule 4’s… period for service ‘operates not as an outer limit
  8   subject to reduction, but as an irreducible allowance.’” Efaw v. Williams, 473 F.3d
  9   1038, 1041 (9th Cir. 2007) quoting Henderson v. United States, 517 U.S. 654, 661
 10   (1996). Further, “‘Rule 4(m) explicitly permits a district court to grant an extension
 11   of time to serve the complaint after that [initial] period.’” Id. quoting Mann v. Am.
 12   Airlines, 324 F.3d 1088, 1090 (9th Cir. 2003) (referring to the former rule’s longer
 13   120-days service period, “[o]n its face, Rule 4(m) does not tie the hands of the
 14   district court after the 120-day period has expired.”). Pursuant to Fed. R. Civ. P.
 15   4(m), a district court is required to grant an extension of time for service if good
 16   cause is shown and permitted to grant such an extension even absent good cause.
 17   Mann, 324 F.3d at 1090, n. 2 citing Henderson, 517 U.S. at 662. While Fed. R. Civ.
 18   P. 4(m)’s time limit does not apply to foreign service, the Alleged International
 19   Defendants’ current whereabouts are still being investigated and this request is being
 20   made in an abundance of caution in case other means of service may be required.
 21              Here, the facts of the case and Plaintiffs’ actions demonstrate good cause for
 22   granting an enlargement of time to effect service upon the Alleged International
 23   Defendants. Since the filing of the Complaint and Plaintiffs’ first ex parte
 24   application, and given the Defendants’ operations in the United States and their
 25   frequent use of overlapping information, Plaintiffs have conducted extensive
 26   research to identify and locate the Alleged International Defendants in the United
 27   States, to no avail. Wang Decl. at ¶¶ 4-15. Among other things, pursuant to the
 28
      Seiko Epson Corporation, et al. v. Benedychuk, et al.:
      Ex Parte App. For Order Re Service by Email and Enlargement of
                                                                       - 12 -
      Time
Case 2:18-cv-07560-AB-FFM Document 88 Filed 08/14/19 Page 20 of 34 Page ID #:1496




  1   Court’s Orders, Plaintiffs served numerous subpoenas on various of Defendants’
  2   third-party service providers. Id. at ¶¶ 2-3. While many of the addresses provided
  3   by Defendants in this case were on their face invalid, Plaintiffs attempted service
  4   repeatedly to numerous different addresses provided by Defendants to their third-
  5   party service providers to find and serve all Defendants. Id. at ¶¶ 5-11. Plaintiffs
  6   further uncovered potentially valid company addresses for Wisemine Trading Ltd.
  7   and Sitrol Intertrading Ltd. a/k/a Kekrodi Intertrading Ltd. in Limassol, Cyprus and
  8   potentially valid residential addresses for service for Andrey Klimenko, Viktor
  9   Boiko, Nina Kozlova, Andriy Stebliv, Volodymyr Shevchun, Larysa Ponomarenko,
 10   Liliia Stakhova, Denis Evseev, Oleksandr Bobyr, Roman Kholodov, Andrii Pavlov,
 11   Vladyslav Pankov, Tymur Isaiev and Anton Kovalkov in the Ukraine. Id. at ¶¶ 12-
 12   14. Plaintiffs have also been in the process of validating the various Ukranian
 13   addresses provided by the Alleged International Defendants as well as vetting
 14   international process servers, all of which indicate that international service may
 15   realistically take 4-6 months to complete. Id. at ¶ 16. Accordingly, Plaintiffs’ efforts
 16   to effect service demonstrate their good faith effort to diligently prosecute this
 17   Action and good cause for an enlargement of time.
 18              Second, Defendants will not suffer prejudice by virtue of the delayed service.
 19   Plaintiffs have continued to serve, since shortly after filing its original complaint,
 20   notice of these proceedings to the addresses associated with the Seller Accounts.
 21   The events leading rise to Plaintiffs’ complaint occurred in 2018 and on information
 22   and belief, continue to occur to this day. Further, Plaintiffs are to serve Defendants
 23   on or before August 15, 2019. Plaintiffs request only a brief extension within which
 24   to serve the Alleged International Defendants, as should their Application
 25   authorizing service of process by email be granted, service as to those Email
 26   Defendants can be effected within days. Accordingly, this is not a significant delay
 27   during which memories may fade or evidence be lost that would prejudice
 28
      Seiko Epson Corporation, et al. v. Benedychuk, et al.:
      Ex Parte App. For Order Re Service by Email and Enlargement of
                                                                       - 13 -
      Time
Case 2:18-cv-07560-AB-FFM Document 88 Filed 08/14/19 Page 21 of 34 Page ID #:1497




  1   Defendants. But see Efaw, 473 F.3d at 1041 (finding that an extraordinary delay of
  2   seven years prejudiced the defendant).
  3              Finally, it is due to Defendants’ own actions that Plaintiffs have not yet
  4   effected service. Defendants provided little or false information to Amazon as well
  5   as to their third-party service providers in connection with the accounts they use to
  6   facilitate their infringing conduct, and their conduct thus far has indicated that they
  7   intend to continue to evade detection and service in this matter. See Wang Decl. at
  8   ¶¶ 4-17. In fact, should the international addresses prove to be similarly invalid,
  9   Plaintiffs will promptly return to the Court to request email service as to all
 10   remaining defendants so the case can proceed.
 11              Defendants should not be allowed to benefit from their attempts to evade
 12   detection and service. See Motley v. Parks, 2001 U.S. Dist. LEXIS 12479, at *17
 13   (C.D. Cal. July 23, 2001) citing Fed. R. Civ. P. 4, Advisory Committee Notes
 14   (“Relief may be justified…if the defendant is evading service or conceals a defect in
 15   attempted service.” Id.); see also Mid-Continent Wood Products, Inc. v. Harris, 936
 16   F.2d 297, 303 (7th Cir. 1990) citing Nikwei v. Ross School of Aviation, Inc., 822
 17   F.2d 939, 942 (10th Cir. 1987). Due to the alleged location of the Alleged
 18   International Defendants, Plaintiffs require additional time to serve. To that end, the
 19   Plaintiffs request six (6) months from the date of the order authorizing such service
 20   to effect service on the Alleged International Defendants.
 21                                                            IV.   CONCLUSION
 22              For the foregoing reasons, Plaintiffs respectfully request this Court grant the
 23   present Application to effect service of process upon the Email Defendants by email.
 24              Plaintiffs also respectfully request that the Court grant a six (6) month
 25   enlargement of time within which to effect service of process as to the Alleged
 26   International Defendants, given the Defendants’ purposeful evasion of service and
 27   their efforts to remain undetected. During this enlargement of time, Plaintiffs
 28
      Seiko Epson Corporation, et al. v. Benedychuk, et al.:
      Ex Parte App. For Order Re Service by Email and Enlargement of
                                                                       - 14 -
      Time
Case 2:18-cv-07560-AB-FFM Document 88 Filed 08/14/19 Page 22 of 34 Page ID #:1498




  1   anticipate effecting service on the Email Defendants by email within days of receipt
  2   of the Court’s order.
  3

  4
      Dated: August 14, 2019                                           Wang Law Corporation

  5                                                                    By: _/s/ Annie S. Wang_________________
                                                                             Annie S. Wang
  6                                                                          J. Andrew Coombs, Of Counsel
                                                                       Attorneys for Plaintiffs Seiko Epson
  7                                                                    Corporation and Epson America, Inc.
  8

  9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28
      Seiko Epson Corporation, et al. v. Benedychuk, et al.:
      Ex Parte App. For Order Re Service by Email and Enlargement of
                                                                        - 15 -
      Time
Case 2:18-cv-07560-AB-FFM Document 88 Filed 08/14/19 Page 23 of 34 Page ID #:1499




  1                                        DECLARATION OF ANNIE S. WANG
  2              I, ANNIE S. WANG, declare as follows:
  3              1.         I am a member of the Bar of this Court and counsel of record for
  4   Plaintiffs Seiko Epson Corporation and Epson America, Inc. (collectively
  5   “Plaintiffs”) in this Action. Except as otherwise expressly stated to the contrary, I
  6   have personal knowledge of the following facts and, if called as a witness, I could
  7   and would competently testify thereto.
  8              2.         Following service of the Court’s TRO, Docket No. 12, and in
  9   accordance to the Order Granting Application to Extend TRO, Docket No. 41, and
 10   Order Granting Preliminary Injunction, Docket No. 48, Plaintiffs served subpoenas
 11   on Amazon.com, Inc. (“Amazon”) on or about September 19, 2018, November 14,
 12   2018, and December 21, 2018.
 13              3.         Plaintiffs served additional subpoenas to the U.S. based financial
 14   institutions and over a dozen UPS Store locations promptly after disclosure by
 15   Amazon that they were used or identified by the Defendants and/or Seller Accounts.
 16   While many responsive documents have already been received, I anticipate receiving
 17   additional responsive documents in the weeks to come.
 18              4.         I am informed and believe that between October 1, 2018 and May 1,
 19   2019, Plaintiffs received subpoena productions from over a dozen UPS Store
 20   locations that were designated by the Seller Accounts for the return of product from
 21   Amazon. The UPS Store productions, redacted excerpts of which are attached hereto
 22   collectively as Exhibit A, identified the following email addresses for the Email
 23   Defendants:
 24     Defendant                                                               Email Address
        Denis Smotrov                                                           coast0220@gmail.com
 25     Denis Smotrov LLC                                                       coast0220@gmail.com
 26                                                                             antongari1212@gmail.com
          Anton Hashynov                                                        antongaril1212@gmail.com
 27
          Laszlo Kedik                                                          laszlokedik@gmail.com
 28
      Seiko Epson Corporation, et al. v. Benedychuk, et al.:
      Ex Parte App. For Order Re Service by Email and Enlargement of
                                                                       - 16 -
      Time
Case 2:18-cv-07560-AB-FFM Document 88 Filed 08/14/19 Page 24 of 34 Page ID #:1500




                                                                                coast0220@gmail.com
  1
          Andrey Kilmenko                                                       fcalhoun4545@gmail.com
  2                                                                             sergysha@gmail.com
  3       Viktor Boiko                                                          jakiecollins2@gmail.com
          Veleriya Kosolapova                                                   depa00777@gmail.com
  4
          Ihor Kobylinskyi                                                      fox80801@gmail.com
  5              5.         I am informed and believe that on or about June 15, 2019, Plaintiffs’
  6   process server attempted to serve Defendants Denis Smotrov and Denis Smotrov
  7   LLC at a North Las Vegas, NV 89031 address, the address provided by Smotrov to
  8   UPS Stores 6938, 4424 and 5785, and was informed by the owner of the home that
  9   the subject was unknown. I also conducted searches on Nevada’s Business Portal
 10   website on August 12, 2019, and was not able to find a record for Denis Smotrov
 11   LLC. Attached collectively hereto as Exhibit B are true and correct copies of
 12   Affidavits of Attempts regarding the service attempts on Defendants Denis Smotrov
 13   and Denis Smotrov LLC as well as my search results for Denis Smotrov LLC on
 14   Nevada’s Business Portal from August 12, 2019.
 15              6.         On or about June 18, 2019, Plaintiffs’ process server attempted to serve
 16   Defendant Anton Hashynov (“Hashynov”) at an address in El Cajon, California
 17   92021, the only address out of three addresses provided by Hashynov to UPS Stores
 18   4204, 0571, 4144, 2725 and 5262 that was a residential address. This address was
 19   also used by co-Defendant Vladislav Bondarenko and was where Bondarenko was
 20   served. Plaintiffs’ server was informed that Hashynov was unknown to the
 21   occupant. The other “home” addresses provided by Hashynov appeared to be a gas
 22   station (1158 E. Washington Ave, Escondido, CA 92025) or did not appear to exist
 23   pursuant to a search on the San Diego County Treasurer-Tax Collector’s website as
 24   the subject city, El Cajon, is located in San Diego County. (1735 Marlinda Way, El
 25   Cajon, CA 92021). Attached collectively hereto as Exhibit C are true and correct
 26   copies of the server’s Declaration of Diligence regarding the attempted service on
 27

 28
      Seiko Epson Corporation, et al. v. Benedychuk, et al.:
      Ex Parte App. For Order Re Service by Email and Enlargement of
                                                                       - 17 -
      Time
Case 2:18-cv-07560-AB-FFM Document 88 Filed 08/14/19 Page 25 of 34 Page ID #:1501




  1   Hashynov and printouts of the results of the searches my office conducted on the
  2   other addresses provided by Hashynov.
  3              7.         On or about June 21, 2019, Plaintiffs’ process server attempted to serve
  4   Defendant Laszlo Kedik (“Kedik”) at 738 S. Waterman Ave., #6251, San
  5   Bernardino, CA 92408, one of the addresses Kedik provided to UPS Store 4650.
  6   Plaintiffs’ server was unable to serve Kedik as the address was vacant. I am
  7   informed and believe the address 9190 Double Diamond Pkwy, Reno, NV 89527
  8   provided by Kedik to UPS Store 3286 was the location of a virtual office. On or
  9   about August 5, 2019, at my instruction, my office called the virtual office who
 10   identified themselves as DaVinci Partners, and my office was informed that Kedik
 11   was a past, but not current tenant. Notably, the email address Kedik provided to
 12   UPS Store 4650 was the same as that used by co-Defendant Smotrov. Attached
 13   hereto as Exhibit D is a true and correct copy of the server’s Not Found or Non
 14   Service Return form regarding service on Kedik.
 15              8.            On or about June 13, 2019, and August 12, 2019, my office contacted
 16   process servers located in Florida regarding service on Defendant Andrey Klimenko
 17   (“Klimenko”) at 3493 Abaco Drive, Tavares, Florida 32778, an address Klimenko
 18   provided to UPS Store 4455. Upon review and research, the process servers both
 19   determined that the address is invalid and they were not able to effect service on
 20   Klimenko. Attached collectively hereto as Exhibit E are true and correct copies of
 21   the process server’s executed returns indicating there was no such house number on
 22   the identified street.
 23              9.         On or about June 18, 2019, Plaintiffs’ process server attempted to serve
 24   Defendants Viktor Boiko (“Boiko”) and Veleriya Kosolopova (“Kosolopova”) in La
 25   Mesa, CA 91942, to the address identified by Boiko to UPS Stores 5671 and 4144,
 26   and the same address identified by Kosolopova to UPS Store 0008. Boiko also
 27   identified this address to UPS Store 4287, though without the unit number.
 28
      Seiko Epson Corporation, et al. v. Benedychuk, et al.:
      Ex Parte App. For Order Re Service by Email and Enlargement of
                                                                       - 18 -
      Time
Case 2:18-cv-07560-AB-FFM Document 88 Filed 08/14/19 Page 26 of 34 Page ID #:1502




  1   Plaintiffs’ process server was unable to serve Boiko or Kosolopova as he was
  2   informed that unit number #34 is not a valid unit number. However, Boiko provided
  3   as proof of identification, an alleged International Driver’s License which reflected
  4   an address in Brovary, Ukraine. Attached collectively hereto as Exhibit F are true
  5   and correct copies of the process server’s Declarations of Diligence regarding his
  6   service attempts on Boiko and Kosolopova.
  7              10.        On or about June 20, 2019, Plaintiffs’ process server attempted to serve
  8   Defendant Ihor Kobylinksyi (“Kobylinksyi”) at an address in San Jose, California
  9   95123, the address identified by Kobylinksyi to UPS Store 1561. Plaintiffs’ process
 10   server was informed by the leasing office specialist that Kobylinksyi moved out in
 11   November 2017. I am informed and believe that Plaintiffs also attempted to serve
 12   Kobylinksyi at an address in Brooklyn, NY 11218 between July 3, 2019 to July 8,
 13   2019, which was an address obtained from a public records search. Despite multiple
 14   attempts to serve Kobylinksyi, Plaintiffs’ process server has been unable to effect
 15   service and believes Kobylinksyi is evading service. Attached collectively hereto as
 16   Exhibit G are true and correct copies of the process servers’ Declarations of
 17   Diligence regarding service attempts on Kobylinksyi at both addresses.
 18              11.        On or about June 19-23, 2019, Plaintiffs’ process server attempted to
 19   serve Defendant Iurii Ganychenko (“Ganychenko”) at a San Jose, CA 95134 address
 20   identified by his financial institution in response to a subpoena as well as public
 21   records searches conducted by my office, but the server was informed by the
 22   occupant that the subject was unknown. Thereafter, the process server attempted
 23   service at a San Jose, CA 95123 address also identified by his financial institution in
 24   response to a subpoena as well as public records searches conducted by my office,
 25   but there was no response at the door after numerous service attempts. Despite
 26   multiple attempts to serve Ganychenko, Plaintiffs’ process server has been unable to
 27   effect service. I continue to meet and confer with Ganychenko’s financial institution
 28
      Seiko Epson Corporation, et al. v. Benedychuk, et al.:
      Ex Parte App. For Order Re Service by Email and Enlargement of
                                                                       - 19 -
      Time
Case 2:18-cv-07560-AB-FFM Document 88 Filed 08/14/19 Page 27 of 34 Page ID #:1503




  1   for additional information regarding Ganychenko, however, a further public records
  2   search indicated that Ganychenko uses the email address iurii_ganychenko@ukr.net
  3   as it was identified in connection with a published paper he authored and which was
  4   found with details disclosed in publicly posted biographies for “Iurii Ganychenko”
  5   and his wife’s social media posts. Attached collectively hereto as Exhibit H are true
  6   and correct copies of a redacted excerpt of the document production from
  7   Ganychenko’s financial institutions, a printout from the California Secretary of
  8   State’s website regarding 14C LLC, a company managed by Ganychenko, and
  9   obtained by my office on or about July 24, 2019, the process servers’ Declarations of
 10   Diligence regarding service on Ganychenko at both addresses identified, and the first
 11   page of the published paper identifying the email address iurii_ganychenko@ukr.net.
 12              12.        I am informed and believe that on or about December 6, 2018 and
 13   February 21, 2019, Plaintiffs received productions from USFOREX, Inc.
 14   (“USFOREX”) in response to Plaintiffs’ subpoenas dated November 8, 2018 and
 15   January 10, 2019. I am informed and believe that USFOREX has a San Francisco
 16   office and specializes in facilitating the transfer of money received from Amazon
 17   seller accounts to overseas recipients. USFOREX was identified after two rounds of
 18   subpoenas as receiving accounts for the Seller Accounts identified by Amazon and
 19   the bank associated with a number of the Seller Accounts. I am further informed and
 20   believe that USFOREX identified Defendant Wisemine Trading Ltd. (“Wisemine”)
 21   with contact address of “SK House, 61 Spyrou Kyprianou Street, Limassol 4003,
 22   Cyprus” and Defendant Oleksandr Benedychuk (“Benedychuk”) as Wisemine’s
 23   account admin and director with email address “o.benedychuk@yahoo.com” in
 24   response to Plaintiffs’ subpoena. There was no personal address information
 25   provided for Benedychuk and the SK House address appears to be affiliated with a
 26   law firm pursuant to a search my office conducted on Google Maps. Pursuant to
 27   public records searches, a Ukranian address for Benedychuk from 2016 was found in
 28
      Seiko Epson Corporation, et al. v. Benedychuk, et al.:
      Ex Parte App. For Order Re Service by Email and Enlargement of
                                                                       - 20 -
      Time
Case 2:18-cv-07560-AB-FFM Document 88 Filed 08/14/19 Page 28 of 34 Page ID #:1504




  1   connection with a different Nevada entity, but that entity’s status was revoked in
  2   2017, and the Ukranian address could not be found on Google Maps pursuant to
  3   searches my office conducted at my direction. Attached collectively hereto as
  4   Exhibit I is a true and correct redacted excerpt of the account particulars provided by
  5   USFOREX for Defendant Wisemine, as well as true and correct copies of a printout
  6   from Nevada’s Business Portal identifying Benedychuk’s address in the Ukraine
  7   from 2016, and printouts from Google Maps for the address for “SK House” and the
  8   address identified in the Nevada’s Business Portal for Benedychuk.
  9              13.        I am informed and believe that the same aforementioned subpoena
 10   productions from USFOREX also identified Defendant Sitrol Intertrading Ltd. a/k/a
 11   Kekrodi Intertrading Ltd. (“Sitrol”) with the company contact address in Limassol
 12   4131, Cyprus and Defendant Vasyl Kedik (“V. Kedik”) with email address
 13   “sitrol.company@gmail.com”. There was no personal address information provided
 14   for V. Kedik. Attached hereto as Exhibit J is a redacted copy of the account
 15   particulars provided by USFOREX for Defendant Sitrol.
 16              14.        I am informed and believe that between October 5, 2018 and August 14,
 17   2019, Plaintiffs received productions from First Century Bank (“FCB”) in response
 18   to Plaintiffs’ subpoenas dated September 27, 2018, January 10, 2019 and April 25,
 19   2019. As reflected by the redacted excerpts of the FCB productions attached
 20   collectively hereto as Exhibit K, FCB identified the following Defendants as the
 21   account holders for financial accounts linked to the Amazon Seller Accounts (as
 22   reported by Amazon):
 23
             Defendant                                 Reported City, Country, and Email Address Information
 24          Andrey Klimenko                           Kharkiv 61100 Ukraine
 25
                                                       andreyklimenko408@gmail.com
             Nina Kozlova                              Kharkiv, 61121 Ukraine
 26                                                    thesophisticatedimage@gmail.com
 27          Andriy Stebliv                            Kharkiv 61098 Ukraine
                                                       andriystebliv@yahoo.com
 28
      Seiko Epson Corporation, et al. v. Benedychuk, et al.:
      Ex Parte App. For Order Re Service by Email and Enlargement of
                                                                       - 21 -
      Time
Case 2:18-cv-07560-AB-FFM Document 88 Filed 08/14/19 Page 29 of 34 Page ID #:1505




             Volodymyr Shevchun                        Kharkiv 61045 Ukraine
  1
                                                       glorybonus@gmail.com
  2          Larysa Ponomarenko                        Kyiv 04205 Ukraine
  3                                                    larysa.ponomarenko@ukr.net
             Liliia Stakhova                           Kharkiv 61072 Ukraine
  4
                                                       Lil.stakhova@gmail.com
  5          Denis Evseev                              Kharkov 61018 Ukraine
                                                       evseevden@i.ua
  6
             Oleksandr Bobyr                           Kharkiv, 61070 Ukraine
  7                                                    bobyrfactory@gmail.com
             Roman Kholodov                            Kharkiv 61015 Ukraine
  8
                                                       holodholodsales@gmail.com
  9          Andrii Pavlov                             Kharkiv, 61111 Ukraine
 10
                                                       pavlovtheory1@gmail.com
             Vladyslav Pankov                          Kharkiv 61045 Ukraine
 11                                                    pankformat@gmail.com
 12          Tymur Isaiev                              Kharkiv, 61038 Ukraine
                                                       jhalpert1925@gmail.com
 13
             Anton Kovalkov                            Kharkov, 61051 Ukraine
 14                                                    kovalkovanton86@gmail.com
 15              15.        At my direction, public records searches were conducted on the above
 16   addresses in the Ukraine and Cyprus via Google Maps and third-party sites with
 17   mixed results. As a result, I have contacted internationally based individuals to
 18   research the above addresses to determine if they are valid. I have also contacted
 19   multiple international process servers and am informed that once valid addresses are
 20   found, in order to serve the Alleged International Defendants in compliance with the
 21   Hague Convention, if applicable, translations may be required, and service attempts
 22   and proof of service returns realistically take 4-6 months.
 23              16.        At my direction, my office researched numerous public information
 24   sources and was unable to find additional valid addresses for the Email Defendants
 25   for purposes of service. The requested Order granting Plaintiffs’ Application for an
 26   Order Authorizing Service of Process on the Email Defendants by email is the only
 27   remaining method available to effectively serve the Email Defendants.
 28
      Seiko Epson Corporation, et al. v. Benedychuk, et al.:
      Ex Parte App. For Order Re Service by Email and Enlargement of
                                                                       - 22 -
      Time
Case 2:18-cv-07560-AB-FFM Document 88 Filed 08/14/19 Page 30 of 34 Page ID #:1506




  1              17.        As reflected in the accompanying proof of service filed concurrently,
  2   Plaintiffs have, in an abundance of caution, served copies of the present Application
  3   on the email addresses associated with the Amazon.com Seller Accounts that were
  4   used in the underlying infringement as well as on Defendant Bondarenko by First
  5   Class Mail and email and have notified them that any opposition papers must be filed
  6   no later than 24 hours (or one court day) following such service. Pursuant to Local
  7   Rule 7-19, there have been no responses or contacts from any of the Seller Account
  8   email addresses, any of the Defendants, or anyone representing the Defendants.
  9              I declare under penalty of perjury under the laws of the United States of
 10   America that the foregoing is true and correct.
 11              Executed this 14th day of August 2019, at La Cañada Flintridge, California.
 12

 13                                                                    __/s/ Annie S. Wang________________
 14                                                                    Annie S. Wang

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28
      Seiko Epson Corporation, et al. v. Benedychuk, et al.:
      Ex Parte App. For Order Re Service by Email and Enlargement of
                                                                        - 23 -
      Time
Case 2:18-cv-07560-AB-FFM Document 88 Filed 08/14/19 Page 31 of 34 Page ID #:1507




  1                                            DECLARATION OF HERB SEITZ
  2              I, HERB SEITZ, declare as follows:
  3              1.         I am over 18 years of age and am a licensed independent investigator. I
  4   have provided investigation services to Epson America, Inc. (“Epson America”) for
  5   intellectual property enforcement, including anti-piracy and anti-counterfeit
  6   enforcement since 2000. I am familiar with genuine, authorized Epson products and
  7   am able to differentiate between genuine, authorized Epson products and those
  8   products that are counterfeits and make unauthorized use of the trademark rights
  9   owned and registered by Epson. Prior to my work with Epson America, I spent over
 10   29 years with the Los Angeles Police Department before retiring as the Officer in
 11   Charge of Investigations in the Anti-Terrorism Division. I have over 40 years of
 12   investigative experience including over 20 years as a licensed private investigator in
 13   the state of California. Except as otherwise expressly stated to the contrary, I have
 14   personal knowledge of the following facts and, if called as a witness, I could and
 15   would competently testify as follows.
 16              2.         I am informed and believe that in response to subpoenas, Amazon.com,
 17   Inc. provided the addresses designated for the return of product by the Amazon
 18   Seller Accounts, where available. All of those addresses appeared to be UPS Store
 19   locations, the majority of which were located in Southern California, though a few
 20   appeared to be located in New Jersey, and one in Florida.
 21              3.         I continue to investigate the Defendants in this case, including
 22   researching the information provided to the UPS Store locations, among other things,
 23   but have not found additional addresses for Defendants that are valid for service of
 24   process.
 25   ///
 26   ///
 27

 28
      Seiko Epson Corporation, et al. v. Benedychuk, et al.:
      Ex Parte App. For Order Re Service by Email and Enlargement of
                                                                       - 24 -
      Time
Case 2:18-cv-07560-AB-FFM Document 88 Filed 08/14/19 Page 32 of 34 Page ID #:1508




                   I declare under penalty of perjury under the laws of the United States of
     2
         America that the foregoing is true and correct.
     3
                   Executed this           3u day of August 2019 at Huntington Beach; California.
     4

    5

     6
                                                                             �
                                                                                        z
     7                                                                     Herb Seitz       �

     8

     9

    lO

    11

    12

    13

    14

    15

    16

    17

    18

    ]9

    20

    21

    22

    23

    24

    25

    26

    27

    28

         Seiko Epson Corpcm1tion, el aL ,,_ Benedychulc, el al.:
         Bx Parle At)p, for Order R•o s�••oc by Ema,!. and Enlargcmmt of
                                                                             _ 25 _
         Ti111e
Case 2:18-cv-07560-AB-FFM Document 88 Filed 08/14/19 Page 33 of 34 Page ID #:1509


                               PROOF OF SERVICE

        I, the undersigned, certify and declare that I am over the age of 18 years,
  employed in the County of Los Angeles, and not a party to the above-entitled
  cause. I am employed by a member of the Bar of the State of California. My
  business address is 1150 Foothill Boulevard, Suite E, La Cañada Flintridge,
  California 91011.

        On August 14, 2019, I served the:

  PLAINTIFFS’ EX PARTE APPLICATION FOR ORDER FOR
  ALTERNATIVE EMAIL SERVICE, AND FOR EXTENSION OF TIME TO
  SERVE; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
  THEREOF; DECLARATIONS AND EXHIBITS IN SUPPORT

  [PROPOSED] ORDER GRANTING PLAINTIFFS’ EX PARTE
  APPLICATION FOR ORDER FOR ALTERNATIVE EMAIL SERVICE,
  AND FOR EXTENSION OF TIME TO SERVE

        in the following action:

            Seiko Epson Corporation, et al. v. Seller Account ADUNIS, et al.
    x by placing a true copy thereof in an envelope to be immediately sealed
   ___
  thereafter. I am readily familiar with the office’s practice of collecting and
  processing correspondence for mailing. Under that practice it would be
  deposited with the United States Postal Service on the same day with postage
  thereon fully prepaid at La Cañada Flintridge, California in the ordinary
  course of business. I am aware that on motion of the party served, service
  presumed invalid if postal cancellation date or postage meter is more than one
  day after date of deposit for mailing in affidavit.


                     Vladislav Bondarenko
                     1906 Marlinda Way
                     El Cajon, California 92021
   x by email to the following:
  ___

             Seller Name                        Email Address
             Seller Account ADUNIS              adonis.dud@gmail.com
             Seller Account ALIMOSH             alimosh.rus@gmail.com
Case 2:18-cv-07560-AB-FFM Document 88 Filed 08/14/19 Page 34 of 34 Page ID #:1510


            Seller Account APILET              apilet.cindy@gmail.com
            Seller Account BARBUS              barbus.de@gmail.com
            Seller Account BNILON              bnilon.my@gmail.com
            Seller Account Buy And Smile       glorybonus@gmail.com
            Seller Account IPAOLIK             ipaolik.bolik@gmail.com
            Seller Account LATIK               latik.ma@gmail.com
            Seller Account LEVITAK             levita.korol@gmail.com
            Seller Account LINDOS              lindos.igor@gmail.com
            Seller Account LIRI0               liri0.kan@gmail.com
            Seller Account LISITSA             lisitsa.ton@gmail.com
            Seller Account MARULA              marula.zara@gmail.com
            Seller Account NEVIS               nevis.mann@gmail.com
            Seller Account NORTONN             norton.reb@gmail.com
            Seller Account PALISOTA            palisota.step@gmail.com
            Seller Account PINTURAS            pinturas.4554@gmail.com
            Seller Account RIALTI              rialti.and.klim@gmail.com
            Seller Account RITTEL              rittel.horn@gmail.com
            Seller Account RUMBIK              rumbik.rad@gmail.com
            Seller Account SHALIM              shalim.7har@gmail.com
            Seller Account SHOPIF              shopif.di@gmail.com
            Seller Account SITROL              sitrol.ashley@gmail.com
            Seller Account TOPSI               topsi.amanda@gmail.com
            Seller Account TRELONI             treloni.val@gmail.com
            Seller Account VELIKUN             velikun.tar@gmail.com
            Seller Account Zsorellina          sorellinalay@gmail.com
            Seller Account BLISTERY            blister.pitt@gmail.com
            Seller Account BAYKUN              baykunw@gmail.com
            Seller Account KHILON              khilon.ant@gmail.com
            Vladislav Bondarenko               vladbond77@gmail.com

  Place of emailing: La Cañada Flintridge, California.

  I declare under penalty of perjury under the laws of the United States of
  America that the foregoing information contained in the Proof of Service is
  true and correct.

  Executed on August 14, 2019, at La Cañada Flintridge, California


                            _________________________
                                 Katrina Akim
